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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION



UNITED STATES                              *
                                           *
                                           *
VS.                                        *
                                           *             NO: 4:08CR00013 SWW
SERGIO ZEPEDA CARLON                       *
                                           *
                                           *
                                           *


                             JUDGMENT OF ACQUITTAL

       Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED,

and ADJUDGED that the jury verdict entered on July 22, 2008 is SET ASIDE, and Defendant

Sergio Zepeda Carlon is hereby ACQUITTED of the crime charged in Count I of the indictment.

       IT IS SO ORDERED THIS 18TH DAY OF AUGUST, 2008.




                                          /s/Susan Webber Wright
                                          UNITED STATES DISTRICT JUDGE
